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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11
     UNITED STATES OF AMERICA,                         CASE NO. 1:17 CR 00182 LJO-SKO
12
                                 Plaintiff,            ORDER TO DISMISS INDICTMENT
13
                           v.
14
     OMAR FELIX-CORRALES AND
15   VALERIA SILVAS VILLARREAL,

16                              Defendant.

17

18                                 ORDER TO DISMISS INDICTMENT

19          Upon application of the United States of America having filed a Motion to Dimiss the Indictment

20 pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of court,

21          IT IS HEREBY ORDERED that the Indictment against Defendants OMAR FELIX-CORRALES

22 and VALERIA SILVAS VILLARREAL is DISMISSED WITHOUT PREJUDICE.

23

24
     IT IS SO ORDERED.
25

26      Dated:    August 15, 2017                        /s/ Lawrence J. O’Neill _____
                                                UNITED STATES CHIEF DISTRICT JUDGE
27

28

     Order to Dismiss
30
